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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA
                                                      DECISION AND ORDER
            v.
                                                             13-CR-83S
JORGE QUINONES,

                               Defendant.


INTRODUCTION AND DISCUSSION
      When the Court last reviewed the detention status of defendant Jorge

Quinones (“Quinones”), it found continued detention appropriate for several

reasons. (See Dkt. No. 218.) The reasons included the nature of the charges,

evidence of observed drug transactions involving Quinones, and a criminal

history that included offenses committed while on bail or parole. Quinones has

remained in continuous criminal custody since February 28, 2013.

      Since the Court’s last review, Quinones underwent a change of counsel,

and new counsel has filed a motion for reconsideration of Quinones’s detention.

(Dkt. No. 340.) The primary concern that Quinones raises in the pending motion

is the length of his detention. Quinones has been detained for over three years,

putting aside for a moment any breakdown of that length of time to account for

the pendency of a state parole warrant and any adjournments in which Quinones

may have acquiesced. Quinones argues that his length of detention has become

excessive under any circumstances and proposes conditions of release. Among
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other conditions of release, Quinones proposes living with his girlfriend at her

residence in the City of Buffalo. The Government opposes release. The

Government argues that none of the substantive circumstances of the case have

changed since the Court’s last review. The Government argues further that the

pendency of the state parole warrant and any acquiescence in scheduling

adjournments change the percentage of Quinones’s total detention that is

attributable to it.

       The Court held a bail review hearing on April 19, 2016.

       Once the Court has issued a detention order, as it has once before

regarding this defendant, it may reconsider that order and reopen the detention

hearing “at any time before trial if the judicial officer finds that information exists

that was not known to the movant at the time of the hearing and that has a

material bearing on the issue whether there are conditions of release that will

reasonably assure the appearance of such person as required and the safety of

any other person and the community.” 18 U.S.C. § 3142(f)(2). “New and

material information for Section 3142(f)(2)(B) purposes consists of something

other than a defendant’s own evaluation of his character or the strength of the

case against him: truly changed circumstances, something unexpected, or a

significant event.” U.S. v. Jerdine, No. 1:08 CR 00481, 2009 WL 4906564, at *3

(N.D. Ohio Dec. 18, 2009) (citation omitted). Where evidence was available to

defendant at the time of the hearing, the hearing will not be reopened. See U.S.
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v. Dillon, 938 F.2d 1412, 1415 (1st Cir. 1991); U.S. v. Hare, 873 F.2d 796, 799

(5th Cir. 1989).

      Here, the Court appreciates new counsel’s attempt to put Quinones’s

detention status in the best possible light. Nonetheless, the only circumstance

that has changed since the Court’s last review is the one that the Government

cited at the bail review hearing and that occurred after the filing of the motion.

On April 6, 2016, Judge Skretny adopted this Court’s Report and

Recommendation concerning the omnibus pretrial motions of all defendants,

including Quinones. (Dkt. No. 349.) Judge Skretny has scheduled a status

conference for May 16, 2016, presumably to set a trial date for later this year.

(See Dkt. No. 351.) With the exception of one motion from a co-defendant—

which this Court will resolve as expeditiously as the interest of justice will permit

(Dkt. No. 353)—this case is ready for trial. Quinones’s detention will not last

much longer before the case goes to verdict. See U.S. v. Briggs, 697 F.3d 98,

104 (2d Cir. 2012) (denying defendant’s motion for reconsideration of bail but

without prejudice to “moving this court to recall the mandate and reinstate his

appeal if the district court does not begin his trial, or set reasonable bail for him”

within four months). Judge Skretny would be in a better position to address

whether Quinones’s concern about the pole camera video footage (Dkt. No. 340

at 5) will have an impact on trial scheduling, though it would seem that any


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impact can be minimized. Under these circumstances, the Court is content to let

its prior detention order stand undisturbed.

CONCLUSION
      For all of the foregoing reasons, the Court denies Quinones’s motion for

reconsideration (Dkt. No. 340).




      SO ORDERED.
                                      __/s Hugh B. Scott______    __
                                      HONORABLE HUGH B. SCOTT
                                      UNITED STATES MAGISTRATE JUDGE
DATED: April 28, 2016




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